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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                 Chapter 11
        4921 12TH AVENUE, LLC
                                                                 Case No.: 18-47256-jmm
                                    Debtor.
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                           ORDER APPROVING SALE OF PROPERTY

        A Chapter 11 Plan [ECF No. 51] (JMM) (the “Plan”) for 4921 12th Avenue, LLC (the

“Debtor”) having been confirmed by order of the Court dated July 30, 2019 [ECF No. 91] (JMM)

(“Confirmation Order”), and the Plan having provided for the sale of the real property at 4917 12th

Avenue, Units C1 and R1, Brooklyn, New York 11219 (the “Property”); and Mark Frankel, as

Plan Administrator (the “Plan Administrator”) having moved by application [ECF No. 228]

(JMM) (the “Application”) dated August 18, 2022 for entry of an order approving the sale of the

Property (the “Sale”) to Yisroel Blackman (the “Purchaser”); and based upon the Application, the

hearing held on August 31, 2022, and all prior pleadings and hearings held in this case, the Court

having found that: (a) the Sale is at (JMM) an arms-length transaction, non-collusive, fair and

reasonable, and conducted openly and in good faith in accordance with the Plan, the best interests

of the Debtor, its estate, and creditors, (b) the Purchaser is a good faith purchaser within the

meaning of Bankruptcy Code § 363(m) and, as such, is entitled to the full protection of Bankruptcy

Code § 363(m) or similar provisions of law, and (c) the Sale of the Property to the Purchaser was

not controlled by an agreement among potential purchasers in violation of Bankruptcy Code §

363(n), it is hereby:

        ORDERED, that in furtherance of the Plan, the Plan Administrator is directed authorized

(JMM) to sell, transfer, and convey the Property to the Purchaser for the purchase price of
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$6,800,000.00 free and clear of all liens, encumbrances, interests, and commercial leases, with all

such liens, claims, encumbrances, and interests to attach to the proceeds of sale; and it is further

        ORDERED, that the Purchaser is a good faith purchaser within the meaning of Bankruptcy

Code § 363(m) and, as such, is entitled to the full protection of Bankruptcy Code § 363(m) or

similar provision of law; and it is further

        ORDERED, that at the closing of the Sale, the Debtor be, and hereby is, directed to (a)

execute and deliver such documents (collectively, the "Closing Documents") as may be

reasonably (JMM) necessary for the Plan Administrator to close the Sale of the Property to the

Purchaser as set forth in the Plan, and (b) turnover to the Purchaser the Property, and all books,

records, files, and other documents relating to the Property; and it is further

        ORDERED, upon the closing of the Sale and the distribution of the proceeds of the

Sale in accordance with this Order, that (JMM) the Plan Administrator be, and hereby is,

authorized and directed (JMM) to execute, in the name of any necessary party (including the

Debtor), any transfer documents, notice of satisfaction, release or discharge of any lien, claim, or

encumbrance, or interest not expressly preserved in the Plan and this Order, and to deliver such

notices to any and all federal, state, and local governmental agencies or departments for filing and

recordation; and it is further

        ORDERED, that the Kings County Clerk is hereby authorized and directed to record the

necessary deeds and all other documents as so executed, subject to any recording fee (JMM);

and it is further

        ORDERED, that pursuant to Bankruptcy Code § 1146, the delivery of the deeds to be

issued pursuant to Sale and the Plan shall be made in implementation of the Plan, and qualify for

the transfer tax exemption under Bankruptcy Code § 1146(a), such that the filing of said deeds
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shall not be subject to payment of any State (TP 584) transfer tax, a stamp tax, or similar tax; and

it is further

          ORDERED, that each and every federal, state, and local governmental agency or

department shall be authorized to accept and record any and all documents and instruments

necessary, useful, or appropriate to effectuate, implement, and consummate the transactions

contemplated by the Plan including, but not limited to, any and all notices of satisfaction, release,

or discharge of any lien, claim, encumbrance, or interest not expressly preserved by the Plan; and

it is further

          ORDERED, that the Plan Administrator escrow $650,000.00 at closing to cover estate

administrative expenses, and of that $650,000.00, the Plan Administrator shall maintain no less

than $325,000 in reserve to cover potential vendor claims against the Debtor’s estate relating to

inventory and personal property in the Property, subject to further order of the Court; and it is

further

          ORDERED, that the Plan Administrator provide a copy of the Sale closing statement to

the United States Trustee within two (2) weeks after the Sale closes; and it is further

          ORDERED, that this Court hereby may (JMM) retain exclusive jurisdiction over this

Order, and to hear and to determine all controversies, suits, and disputes, if any, as may arise in

connection with the Order.




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 Dated: Brooklyn, New York                                             Jil Mazer-Marino
        September 1, 2022                                       United States Bankruptcy Judge
